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                        UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON



 UNITED STATES OF AMERICA,                                        3:14-CR-00282-KI-01

      v.                                            NOTICE OF SATISFACTION OF
                                                            MONEY JUDGMENT
 TUNG WING HO,

           Defendant.


      NOTICE IS HEREBY GIVEN that defendant Tung Wing Ho, has voluntarily paid

$50,000 to the United States toward his obligation pursuant to the Preliminary Order of

Forfeiture and Final Order of Forfeiture and Money Judgment filed on April 21, 2015

(CR 64). The money judgment in this case as to Defendant Ho, having been paid in full,

is now satisfied.

      DATED this 7th day of July, 2015.

                                             BILLY J. WILLIAMS
                                             Acting United States Attorney
                                             s/ Katie Lorenz
                                             KATHERINE C. LORENZ
                                             Assistant United States Attorney
